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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

  Case No. CV 17-3178-CAS (KSx); CV 17-3196-CAS (KSx)                      Date: September 12, 2018
  Title      John Bower v. Wright Medical Technology; Catherine Prater v. Wright Medical Tech.




  Present: The Honorable:      KAREN L. STEVENSON, United States Magistrate Judge


                   G. Roberson                                              N/A
                   Deputy Clerk                                    Court Reporter / Recorder

          Attorneys Present for Plaintiffs:                  Attorneys Present for Respondent:


  Proceedings: (IN CHAMBERS) ORDER GRANTING IN PART AND DENYING IN
                PART PLAINTIFFS’ MOTION TO COMPEL FURTHER DISCOVERY
                RESPONSES AND PRODUCTION OF DOCUMENTS (Dkt. No. 60)

           Before the Court for decision is Plaintiff’s Motion to Compel Further Discovery
  Responses and Production of Documents (“Motion to Compel”.) (Dkt. No. 60.) The parties
  filed the Motion to Compel on July 25, 2018 in the Joint Stipulation format pursuant to Local
  Rule 37-2 (“Joint Stip.”), following a telephonic conference with the Court. (See Dkt. No. 56.)
  On August 8, 2018, Plaintiff filed a Supplemental Memorandum in Support of the Motion to
  Compel. (Dkt. No. 68.) On August 22, 2018, the Court heard oral argument on the Motion to
  Compel. (Dkt. No. 74.) At the hearing, the Court determined that it needed additional
  information from the parties concerning Plaintiffs’ request for evidence related to Defendants’
  communications with the Food and Drug Administration (“FDA”) regarding fracture incidents
  involving Defendants’ titanium 1254 long neck hip implant product for the period 1999 through
  2017. (Id.) The Court scheduled a further telephonic conference on this issue for September 7,
  2018. (Id.)

         On September 7, 2018, the Court heard further argument from the parties regarding the
  remaining issue in dispute and took the matter under submission. (Dkt. No. 79.) The matter is
  now fully briefed and ready for decision.

          For the reasons discussed below, the Motion is GRANTED in part and DENIED in part.




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                                             FACTUAL BACKGROUND

         This action consolidates two lawsuits filed by plaintiffs John Bower and Catherine
  Wright (together, “Plaintiffs”).1 Plaintiffs each had hip replacement surgery in which they
  received the PROFEMUR® Total Hip System, composed of cobalt-chromium (CoCr) alloy
  (Product No. PHAC-1254) (the “Cobalt Chrome Device”) manufactured, marketed, and sold by
  Defendant. (Joint Stip. at 1-2.) The operative complaints allege that due to design defects, the
  PROFEMUR® devices suddenly fractured at the “Neck-Stem-body transition” causing Plaintiffs
  to endure unnecessary pain and subsequent revision surgery to replace the failed devices.
  (Bower First Amended Complaint (“FAC”) ¶¶ 1-2; Prater Complaint ¶¶ 1-2.)

          Plaintiffs allege that “Defendants have known for several years that their hip replacement
  device – the PROFEMUR® Total Hip System with the PROFEMUR® Stem and PROFEMUR®
  Neck — was prone to fail within a few years of implantation . . . [and that] Defendants have
  long known that their Device has a tendency to fracture at the location of the highest tensile
  stress concentration in the Neck-Stem-body transition during even low to moderate physical
  activity.” (Prater Complaint ¶ 1; Bower FAC ¶ 1.)

          Plaintiffs allege that “[t]he Wright Medical PROFEMUR® modular necks that were
  distributed after December 13, 2000 and before August 25, 2009, were all made of a titanium-
  aluminum-vanadium alloy known as Ti6A14V” (the “Titanium Device”). (Prater Complaint ¶
  21; Bower FAC ¶ 21.) Starting in August 2009, Wright distributed and marketed the
  PROFEMUR® device manufactured from cobalt chrome alloy instead of Ti6A14V and
  represented to the FDA that the Cobalt Chrome Device was “substantially equivalent” to the
  Titanium Device. (Prater Complaint ¶ 22; Bower FAC ¶ 22.) According to Plaintiffs, the
  PROFEMUR® modular necks that were promoted, marketed, distributed, and sold in the United
  States after December 13 2000, were manufactured in twelve different model styles, including

  1
           Separate, but similar products liability actions were previously filed and consolidated in this district by
  Richard Sarafian, Sarafian v. Wright Medical Technology, Inc. et al. Case No. CV 15-09397-CAS (KSx); and
  Kristin Biorn, Biorn v. Wright Medical Technology, Inc. et al; CV 15-07102-CAS (KS) against Defendants also
  alleging defects in the Cobalt Chrome Device ), (together the “Biorn/Sarafian Actions”). The Biorn and Sarafian
  Actions have now been resolved.



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  six that Wright identified as “short” necks and six Wright identified as “long” necks. (Prater
  Complaint ¶ 23; Bower FAC ¶ 23.)2 Plaintiffs alleged that prior to 2001, Wright “had received
  notice of clinical failures in the form of fractures of modular necks that had been implanted in
  patients in Europe.” (Prater Complaint ¶ 28; Bower FAC 28.)

          Prater underwent a right total hip replacement on January 17, 2012 and the long neck
  Cobalt Chrome Device that she received failed on January 9, 2017, requiring revision surgery.
  (Prater Complaint ¶ 3.) Bower underwent a left total hip replacement on October 1, 2013 and
  the Cobalt Chrome Device he received failed on December 4, 2016, necessitating revision
  surgery. (Bower FAC ¶ 3.)3 On August 11, 2015, Defendant MicroPort announced a voluntary
  recall of the Cobalt Chrome long neck model PHAC-1254, the device that was implanted into
  Plaintiffs. (Prater Complaint ¶ 60; Bower FAC ¶ 60.)

          Plaintiffs alleged that the Cobalt Chrome Device that they were implanted with was
  “unreasonably dangerous due to design flaws that caused excessive micromotion and fretting
  corrosion which increased the potential for failure. (See Pater Complaint ¶ 74; Bower FAC ¶
  74.) Plaintiffs each assert causes of action for: (1) strict products liability – manufacturing
  defect; (2) strict products liability – failure to warn; (3) negligence; (4) negligence – failure to
  recall; (5) fraudulent misrepresentation; (6) fraudulent concealment; and (7) negligence
  misrepresentation. (Prater Complaint ¶¶ 93-144; Bower FAC ¶¶ 93-145.)

                                                   THE MOTION

          In the Motion, Plaintiffs seek to compel Defendants to produce additional documents
  relating to the following five disputed issues:



  2
            The “short” neck titanium products were identified by Catalog #s PHA0-1202, PHA0-1212, PHA0-1232,
  PHA0-1242,.and PHA0-1252, while the “long” neck titanium products were identified by Catalog #s PHA0-1204,
  PHA0-1214, PHA0-1224, PHA0-1234, PHA0-1244, and PHAO-1254. (Prater Complaint ¶ 23; Bower FAC ¶ 23.)
  3
            At the time of Plaintiffs’ revision surgeries, the Cobalt Chrome Device that they each received was
  manufactured, labeled, marketed, promoted, and distributed by Defendant MicroPort Orthopedics, Inc. (Bower
  FAC ¶3; Prater Complaint ¶ 3.) In 2014, MicroPort acquired Wright Medical Technology Inc.’s OrthoRecon
  Division, which was the hip division that designed and sold the PROFEMUR® modular necks implanted in
  Plaintiffs. (Prater Complaint ¶ 59; Bower FAC ¶ 59.)


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                 Issue # 1: Documents related to fractures in the entire PROFEMUR® product
                  line, including individual complaint files concerning all other CoCr neck
                  fractures, including other CoCr long neck fractures, not just the PHAC-1254
                  component implanted in Plaintiffs (Joint Stip. at 41-43);

                 Issue # 2: Documents concerning PROFEMUR® TITANIUM LONG NECK
                  implant device (Product No. PHAO-1254) (the “Titanium Device”) (Joint Stip. at
                  61-65) ;

                 Issue # 3: Documents evidencing failures in PROFEMUR® CoCr devices,
                  including evidence of corrosion present in any PROFEMUR® neck component,
                  including long, short, and titanium models, including evidence related to adverse
                  tissue reactions (Joint Stip. at 80- 83);

                 Issue # 4: Documents relating to the failure rate of the PROFEMUR® neck line
                  of products, including titanium and CoCr necks, without limitation by time or
                  specific model (Joint Stip. at 114-116); and

                 Issue # 5: Communications with the FCA regarding the PROFEMUR® line,
                  including individual complaint files relating to titanium neck fracture incidents
                  (Joint Stip. at 123-124).

          Because Plaintiffs’ individual discovery requests pertaining to each of the issues
  identified above are voluminous, the Court has not recited the requests and Defendants’
  objections in the body of this Order. Rather, Plaintiffs’ Document Demands and Defendants’
  Responses corresponding to each issue, as outlined in the parties’ Joint Stipulation, are attached
  hereto as Appendices 1 through 5, respectively.

                                           LEGAL STANDARD

         Under Rule 26 of the Federal Rules of Civil Procedure, a party may obtain discovery
  concerning any nonprivileged matter that is relevant to any party’s claim or defense and
  proportional to the needs of the case. FED. R. CIV. P. 26(b)(1). As amended in December 2015,


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  Rule 26(b)(1) identifies six factors to be considered when determining if the proportionality
  requirement has been met, namely, the importance of the issues at stake in the action, the amount
  in controversy, the parties’ relative access to the relevant information, the parties’ resources, the
  importance of the discovery in resolving the issues and whether the burden or expense of the
  proposed discovery outweighs its likely benefit. (Id.) Relevant information need not be
  admissible to be discoverable. (Id.)

         District courts have broad discretion in controlling discovery. See Hallett v. Morgan, 296
  F.3d 732, 751 (9th Cir. 2002). When considering a motion to compel, the Court has similarly
  broad discretion in determining relevancy for discovery purposes. Surfvivor Media, Inc. v.
  Survivor Productions, 406 F.3d 625, 635 (9th Cir. 2005) (citing Hallet, 296 F.3d at 751).

                                                 DISCUSSION


  Issue No. 1: Documents Related to Fracture Incidents in the Entire PROFEMUR® Cobalt
                                   Chrome Product Line

          Plaintiffs argue that Defendants only produced Plaintiffs’ individual complaint reports for
  the fractures they suffered but did not produce reports and documents concerning all other CoCr
  neck fractures, including other CoCr long neck fractures. (Joint Stip. at 41.) Plaintiffs maintain
  that documents related to products not implanted in Plaintiffs are relevant to prove Plaintiff’s
  failure to warn causes of action. (Id.) Further, Plaintiffs contend that they are entitled to
  discovery concerning the entire PROFEMUR® CoCr product line, not just the specific
  component (PHAC-1254) implanted in Plaintiffs because the “modular design of the
  PROFEMUR® line is central to Plaintiffs’ claims, and there is no dispute that all PROFEMUR®
  necks are identical at the oval taper junction, the very location where Plaintiffs’ CoCr long necks
  fractured.” (Id. at 43.)

         Defendants, not surprisingly, respond that discovery of other fracture complaints
  involving the PROFEMUR® CoCr neck is not relevant to Plaintiffs’ claims because “every
  modular neck failure, whether fracture-related or not has distinguishing features” with respect to
  “causation, symptomology and patient experiences, among other factors.” (Joint Stip. at 45.)
  Further, Defendants point out that they have already “produced all of the post-market


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  surveillance reports for the entire PROFEMUR® CoCr product line regardless of failure mode.”
  (Joint Stip. at 46.) In addition, Defendants note that they have also produced design files,
  regulatory files, marketing materials, testing documents, and post-market surveillance reports
  previously produced by Defendants in the Biorn/Sarafian Actions and these documents pertain to
  the entire PROFEMUR® CoCr product line, not just the PHAC-1254 component. (Id.)
  Defendants also point out that they have previously offered to produce information concerning
  the one other reported fracture of a non-PHAC-1254 modular neck. (Id. at 47.) On this basis,
  Defendants urged at oral argument that further discovery of other fracture complaints related to
  the PROFEMUR® CoCr neck product line is not relevant and would not be proportionate to the
  needs of this case.

           Defendants cite a number of cases in support of the proposition that discovery regarding
  different PROFEMUR® COCr products are not relevant. (See Joint Stip. at 45.) These cases,
  however, do not appear to have been decided in the discovery context. See, e.g., Hill v. Novartis
  Pharms. Corp., 944 F. Supp. 2d 943, 952-53 (E.D. Cal. 2013) (rulings on motions in limine and
  discussing appropriate scope of opening statement at trial); Broadcom Corp. v. Emulex Corp.,
  Nos. SACV 09–01058–JVS (ANx), CV 10–03963–JVS (ANx), 2011 WL 11025895, at *1-2
  (C.D. Cal. Dec. 13, 2011) (order on motion for post-trial relief under Rule 50). Nevertheless, in
  light of the particular claims and defenses at issue here and Defendants’ representations at oral
  argument concerning the resources, both in time and manpower, that would be needed to
  examine individual incident files for the entire product line, the Court is not persuaded that
  discovery concerning the entire PROFEMUR® CoCr product line is relevant or proportionate to
  the needs of this case. See FED. R. CIV. P. 26(b)(1).


         During oral argument, Plaintiffs pointed out and Defendants conceded that they have
  produced portions of the discovery previously produced in the Biorn/Sarafian Actions, which
  also involved individual incidents of fractures in the PROFEMUR® CoCr long neck product.
  Consequently, because Biorn/Sarafian discovery has already been assembled and produced by
  Defendants in prior litigation involving the same CoCr product # PAC-1254 and Defendants
  admit that they have produced portions of the Biorn/Sarafian discovery in this action, the Court
  finds no undue burden to Defendants to produce the Biorn/Sarafian discovery in its entirety in




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  this action. (See Biorn v. Wright Medical Technology et. al/Sarafian v. Wright Medical
  Technology, Inc. et. al, CV 17-7102-CAS (KSx) [Dkt. No. 112].)

         Accordingly, the Motion to Compel is GRANTED in part and DENIED in part, insofar as
  any additional discovery concerning the PROFEMUR® CoCr product line beyond the specific
  product implanted into Plaintiffs will be limited to the discovery previously produced in the
  Biorn/Sarafian Actions.

              Issue No. 2: Evidence of Fractures of PROFEMUR® Titanium Necks

           As noted above, the PROFEMUR® Titanium Device was a predecessor hip implant
  product that Wright designed, manufactured, and sold between 1999 and 2009. (See Prater
  Complaint ¶ 21; Bower FAC ¶ 21.) Starting in August 2009, Wright distributed and marketed
  the Cobalt Chrome Device as a substitute for the Titanium Device. (Prater Complaint ¶ 22;
  Bower FAC ¶ 22.) In the Motion to Compel, Plaintiffs seek extensive discovery concerning the
  Titanium Device. (See Appendix 2.) Here, too, Plaintiffs argue that information concerning
  evidence of Titanium Device fractures, including fractures of “short” neck products, is relevant
  to their defective design and failure to warn causes of action. (Joint Stip. at 61-64.)

          Specifically, Plaintiffs maintain that that because Defendant Wright Medical represented
  to the FDA that the design of the CoCr and titanium necks were “substantially equivalent,” the
  evidence of neck fractures in the titanium device that are similar to the Cobalt Chrome Device
  failures that Plaintiffs experienced is highly relevant to the issues of notice. (See Joint Stip. at
  61-62.) Plaintiffs also point to a discovery order issued in the Biorn/Sarafian Actions, which
  concluded that discovery concerning the Titanium Device was “relevant to the claims at issue
  and proportionate to the needs of [those] cases.” (Joint Stip. at 61 (quoting Biorn/Sarafian Dkt.
  No. 112).)

          Defendants challenge the relevance of the Titanium Device discovery by pointing to
  testimony of various experts, including Plaintiffs’ expert, who opined that the fracture patterns in
  the titanium alloy stems and the CoCr devices are not similar and that damage observed in
  fractured CoCr devices is inconsistent with the types of damage observed in titanium devices.
  (See Joint Stip. at 66.) But as the Court emphasized during oral argument, this “battle of the
  experts” about whether the fracture patterns for the two alloy products are similar or dissimilar



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  goes to the merits of the litigation and only underscores the potential relevance of the discovery
  sought here.

          To the extent, Plaintiffs allege that the long neck Cobalt Chrome Device and long neck
  Titanium Device fractured in the same location, the Court finds the information sought in Issue
  No. 2 is relevant to the claims and defenses at issue in the case. (See Joint Stip. at 62.) Insofar
  as Plaintiffs seek broad discovery concerning the “short” neck Titanium Device, the Court is
  unconvinced that this information is relevant or proportionate to the needs of the case.
  Furthermore, Defendants state that in an effort to resolve this dispute, they offered to “make
  available to Plaintiffs . . . the Biorn/Sarafian production, which includes the Court-ordered
  production from Biorn/Sarafian of documents related to fracture complaints of the PHA0-1254
  titanium neck component.” (Joint Stip. at 65.) Defendants also note that they have already
  produced in these cases, “the design and regulatory files for the entire PROFEMUR® titanium
  neck product line[.]” (Joint Stip. at 65.) The Court finds Defendants’ proposal both reasonable
  and comprehensive in providing adequate discovery related to the Titanium Device and such
  production —because it was already assembled for the Biorn/Sarafian Actions— imposes no
  undue burden on Defendants.

         Accordingly, the Motion to Compel is GRANTED in part and DENIED in part as to
  Issue No. 2, insofar as any additional discovery concerning the PROFEMUR® Titanium neck
  product line will be limited to the discovery previously produced in the Biorn/Sarafian Actions.

     Issue No. 3: Evidence of Failures in PROFEMUR® CoCr Modular Necks, Including
                                    Evidence of Corrosion

          Plaintiffs seek to compel Defendants’ production of documents similar to those sought in
  Issue No. 1 regarding the PROFEMUR® CoCr product line, but with the addition of seeking
  information specifically related to “evidence of corrosion” for the period 2009 through the
  present. (Joint Stip. at 80-83.) Plaintiffs argue that both Plaintiffs’ failed devices showed
  evidence of corrosion, and “corrosion was part of the fretting process that led to the fractures of
  Plaintiffs’ CoCr long neck.” (Joint Stip. at 80.) During oral argument, Plaintiffs indicated that
  they only became aware of the potential significance of “corrosion” as a possible causative factor
  in the Cobalt Chrome Device fractures during expert discovery in the Biorn/Sarafian Actions.




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           Defendants, however, argue that “corrosion” and “fracture” are two different and
  unrelated failure modalities and for that reasons, the discovery sought here is not relevant. (Joint
  Stip. at 84-85.) Defendants argue that

                   “fracture” is a sudden mechanical failure where the implant breaks and
                   requires revision. On the other hand, corrosion can lead to an adverse
                   local tissue reaction, which is a failure mode entirely separate from
                   fracture.

  (Joint Stip. at 84.) Indeed, Defendants pointed out during oral argument that separate nationwide
  litigation concerning adverse tissue reaction allegedly caused by PROFEMUR® hip implant
  products is ongoing.4 Yet despite their strenuous arguments that corrosion and fracture are
  wholly separate issues, Defendants acknowledge in the same paragraph that “corrosion can lead
  to a fracture of the neck component, which is what allegedly happened to Plaintiffs.” (Id.)
  Given this acknowledgement, Defendants’ objections to the relevance of evidence in these
  actions concerning corrosion in the Cobalt Chrome Device are unpersuasive.

          The salient question then is whether such discovery meets the proportionality
  requirements of Rule 26(b)(1). Defendants maintain that the design files and market surveillance
  files have already been produced. Defendants argue that it would be extremely burdensome to
  be required to review all of the individual complaint files to determine if any information on
  “corrosion” was noted in those files. Defendants also point out that if such broad discovery is
  permitted to include all component sizes of the PROFEMUR® CoCr neck product line, not just
  the PHAC-1254 product that was implanted in to Plaintiffs, this will add tens of thousands of
  additional sales of non-PHAC-1254 PROFEMUR® CoCr products into the analysis and require
  Defendants to review hundreds of files individually to determine whether the device failure was
  due to corrosion. (Joint Stip. at 87.) In light of the concrete evidence of burden that Defendants
  present, the Court is not persuaded that broad discovery pertaining to any corrosion-related
  failure is proportionate. See McCall v. State Farm Mut. Auto Ins. Co., Case No. 2:16-cv-01058-
  JAD-GWF, 2017 WL 3174914, at *6 (D. NV July 26, 2017) (noting 2015 amendments to Rule


  4
           Counsel for Defendants in the nationwide adverse tissue reaction litigation, Scott Kramer, appeared
  telephonically at the hearing on the Motion to Compel and added some insight into the nature and scope of the
  adverse tissue reactions cases, which, he insisted have no overlap with the Cobalt Chrome Device fracture issues.


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  26(b) did not change basic rules of discovery, “although they must now be applied with a greater
  emphasis on proportionality”).

         During oral argument, Plaintiffs insisted they are entitled to information pertaining to
  corrosion associated with any type of failure of the Cobalt Chrome Device, despite the fact that
  the only failure modality alleged in this litigation is modular neck fracture. In an effort to
  support the proportionality of the discovery sought, Plaintiff pointed to Request for Production
  No. 40, which seeks:

          REQUEST FOR PRODUCTION NO. 40:

          ALL DOCUMENTS which RELATE TO COMMUNICATIONS between
          YOU and any implanting surgeon user discussing concerns related to corrosion
          and failure of the PROFEMUR DEVICE from 2000 to present.

  (See Plaintiff’s Request and Defendants’ Responses, attached hereto at Appendix 3.) The Court
  also notes Request for Production No. 44, which is included as one of the disputed discovery
  requests encompassed by Issue No. 3:

          REQUEST FOR PRODUCTION NO. 44:

          Medical literature, papers, podium presentations, poster presentations,
          research, texts, treatises, or other similar DOCUMENTS, regardless of whether
          published or peer reviewed, received or generated by or on YOUR behalf
          RELATING TO the integrity, wear-rate, micromotion, corroding, fretting, or
          fracturing of PROFEMUR® CoCr MODULAR NECKS, regardless of the
          exact language used, and regardless of whether it specifically addresses a
          WRIGHT or MICROPORT device.

          The Court finds Request Nos. 40 and 44 facially overbroad both in subject matter and
  temporal scope. See Mailhoit v. Home Depo U.S.A., Inc., No. CV 11-03892 DOC (SSx), 2012
  WL 12884129, at *2 (C.D. Cal. Sept. 4, 2012) (“Where discovery requests seek information
  which bears no relationship to the subject matter of the complaint, courts appropriately deny
  enforcement.”) (internal citation omitted). Here, despite the fact that evidence of “corrosion” as
  a causal factor in Plaintiffs’ device failure may be relevant, the only product implanted in
  Plaintiffs was the Cobalt Chrome Device, a long neck modular product, Catalog # PHAC-1254.


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  Plaintiffs fail to demonstrate that their broad requests for information, including various types of
  medical literature and presentations, relating to “corrosion” across the entire PROFEMUR®
  CoCr neck product line, and with respect to any type of failure, are proportional to the needs of
  this case. See, e.g., Federal Trade Commission v. Directv, Inc., Case No. 15-cv-01129-HSG
  (MEJ), 2016 WL 3351945, at *1 (N.D. Cal. June 9, 2016) (noting court order that found party’s
  requests “may be relevant, but they were not proportional to the needs of the case.”); Marsh v.
  Bloomberg Inc., Case No. 16-cv-02647-MEJ, 2017 WL 2224250, * 2 (N.D. Cal. May 22, 2017)
  (“Plaintiff fails to address how her requests are proportional to the needs of the case.”). In
  addition, Plaintiffs fail to point the Court to a discovery request that is reasonably particularized
  to enable Defendants to identify potentially responsive information without undue burden.

          Accordingly, to the extent the Biorn/Sarafian discovery may contain communications
  related to corrosion relating to the fracture of the PROFEMUR® Cobalt Chrome Device at issue
  in this case, that information will be produced. However, the Motion to Compel is DENIED as
  to any additional information sought in Issue No. 3.

    Issue No. 4: Evidence Related to Failure Rate of the PROFEMUR® Neck Line Without
                              Regard to Time or Specific Model

          Plaintiffs also seek to compel Defendants to produce documents relating to the failure
  rate of the PROFEMUR® neck line of products, including titanium and CoCr necks, without
  limitation by time or specific product model. (Joint Stip. at 88-115.) Plaintiff argues that
  “[d]iscovery concerning sales and implant rates, as well as failure reports, of the PROFEMUR®
  neck line is necessary to allow Plaintiffs to calculate the overall fracture rate for PROFEMUR
  necks.” (Joint Stip. at 114.) Defendants respond that they have already produced relevant
  responsive information in the form of detailed post-market surveillance reports for the “entire
  PROFEMUR® neck line product line” which, Defendants maintain, “is more than sufficient to
  calculate the failure for the PROFEMUR® neck line.” (Id at 116.)

          Specifically, the information already produced to Plaintiffs includes the total number of
  annual sales for the PROFEMUR® COCr modular neck (by year and year to date); total number
  of clinical incidents for the PROFEMUR® CoCr modular neck (by year and year to date);
  cumulative clinical incidents for the PROFEMUR® CoCr modular neck line; total number of
  non-clinical incidents; the cumulative non-clinical incident rate; and the total number of



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  reported incidents for the PROFEMUR® COCr modular neck, along with the cumulative
  incident rate categorized by mode of clinical failure, including fracture. (Id.) Plaintiffs do not
  dispute that this information has been provided, but argue that they should be entitled to more
  detailed information from individual product complaint files across the entire PROFEMUR®
  neck product line without regard to product number.

          On this record, the Court finds that any additional discovery regarding PROFEMUR®
  neck products that are not as issue, including Titanium Devices and “short” neck products is
  neither relevant nor proportional to the needs of these cases.

         Accordingly, to the extent the information sought in Issue No. 4 raises many of the same
  concerns regarding relevance and proportionality addressed in Issue Nos. 1-3 and additional
  relevant information may be contained in the Biorn/Sarafian discovery, the Motion to Compel is
  GRANTED in part, only insofar as Plaintiffs will receive the entirety of the Biorn/Sarafian
  discovery The Motion to Compel is DENIED is all other respects as to Issue Not. 4.

   Issue No. 5: Communications with the FDA Regarding the PROFEMUR® Titanium Neck
                                           Line

          This category of requests too strains the boundaries of relevance contemplated under
  Rule 26(b), particularly as Plaintiffs seeks communications for the period 2009 through January
  2017 relating to the PROFEMUR® Titanium Neck Line, which was not implanted in either
  Plaintiff and was replaced in marketplace by the Cobalt Chrome Device in 2009.

         Following oral argument on the Motion to Compel, the Court requested additional
  information concerning the scope of discovery sought regarding Defendants’ communications
  with the FDA about the Titanium Device. (Dkt. No. 74.) At supplemental oral argument on
  Issue No. 5, Defendants indicated that some information concerning communications with the
  Food and Drug Administration (“FDA”) about fracture incidents involving the titanium 1254
  long neck product for the period 1999 – 2009 was previously produced with the Biorn/Sarafian
  discovery and, therefore, would be produced here as part of the additional discovery related to
  Issues 1-4, as discussed above. Plaintiffs, however, maintain that the 1999-2009 time frame is
  too limited and insist that Defendants should be compelled to produce documents concerning all
  FDA-related communications, including individual complaint files for titanium fracture incidents



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  from 2009 through 2017. Plaintiffs contend that documents related to titanium fracture for this
  extended time frame are relevant to establish “more notice” to Defendants of potential defects in
  the PROFEMUR® COCr Device that Plaintiffs were actually implanted with.

          The Court is not persuaded that documents pertaining to titanium fracture incidents that
  occurred years after the Cobalt Chrome Device replaced the Titanium Device are relevant here.
  Accordingly, the Court concludes that the documents sought in Issue No. 5 are neither relevant
  to the claims and defense in this action nor proportional to the needs of the case as contemplated
  by Rule 26(b)(1). FED. R. CIV. P. 26(b)(1); Marsh v. Bloomberg Inc., 2017 WL 2224250, at * 2.

          Accordingly, the Motion is DENIED as to Issue No. 5 for documents concerning titanium
  fracture incidents for the period 2009 through 2017. To the extent the Biorn/Sarafian discovery
  contains relevant, responsive information concerning titanium fracture incidents for the period
  1999 through 2009, that information will be produced. No additional discovery on this issue will
  be provided.

                                              CONCLUSION

          For the foregoing reasons, the Motion to Compel is GRANTED in part with respect to
  Issues 1, 2, and 4 insofar as Defendants will produce the entirety of the Biorn/Sarafian discovery
  to Plaintiffs within 10 days of the date of this Order. With respect to Issue Nos. 3 and 5, the
  Motion to Compel is DENIED, except to the extent relevant, responsive information may be
  contained in the Biorn/Sarafian discovery. The Motion to Compel is DENIED in all other
  respects.

          IT IS SO ORDERED.


                                                                  Initials of Preparer       gr




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